                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                  3:05CR281-MU

UNITED STATES OF AMERICA            )
                                    )
VS.                                 )                      ORDER
                                    )
ELTON RODRIGUEZ                     )
____________________________________)

        This matter is before the court upon the government’s Motion to Dismiss this case. A
status conference was held in this matter on June 5, 2006. Based upon the representations of the
government at the status conference,
        IT IS THEREFORE ORDERED that the government’s Motion to Dismiss is hereby
GRANTED WITH PREJUDICE.
                                                 Signed: June 5, 2006




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